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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No. 21-CR-149

40 U.S.C. § 5104(e)(2)(G)
CHANCE ANTHONY UPTMORE,

2 by Atv
t. Jott.

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Chance Anthony Uptmore (“Uptmore”), with the concurrence of his attorney, agree and stipulate
to the below factual basis for the defendant's guilty plea—that is, if this case were to proceed to
trial, the parties stipulate that the United States could prove the below facts beyond a reasonable
doubt:

The Attack at the U.S. Capitol on January 6, 2021

L'; The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours ates by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

= On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
a On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

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4. . “Ks the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

a At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior fagade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd

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encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,
requiring the expenditure of more than $1.4 million dollars for repairs,

i Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

Chance Uptmore’s Participation in the January 6, 2021, Capitol Riot

8. Chance Uptmore traveled from Texas with his father, James Herman Uptmore, to
attend a rally the former president, Donald Trump, planned to hold in Washington, D.C..on January
6, 2021. After attending the rally on that date, Chance Uptmore and James Uptmore made their
way to the Capitol.

2. While outside of the building, Chance Uptmore filmed several videos, including
videos of a large mob breaching a police line on the northwest stairs of the U.S. Capitol building,
videos of rioters assaulting police officers, and videos of rioters climbing walls.

10. Chance Uptmore and James Uptmore entered the Capito! building through the

Upper West Terrace entrance before walking into the Rotunda. After walking through the Rotunda

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and towards the East Columbus Doors, Chance Uptmore and James Uptmore returned to the
Rotunda and then walked to the Senate wing.

kL. While inside of the U.S. Capitol building, Chance Uptmore filmed several more
videos, including videos depicting the rioters outside of the Senate chamber and videos
documenting the rioters’ various confrontations with law enforcement officers.

12. The defendant knew at the time he entered the U.S, Capitol Building that that he -

did not have permission to enter the building and the defendant paraded, demonstrated, or picketed.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

By:  /s/ Mona Lee M. Furst

Mona Lee M. Furst

Assistant United States Attorney
Kansas Bar No. 13162

Detailee — Capitol Siege Division
United States Attorney’s Office
District of Columbia
Mona.Furst@usdoj.gov

(316) 269-6537

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DEFENDANT’S ACKNOWLEDGMENT.

I, Chance Anthony Uptmore, have read this Statement of the Offense and have discussed
it with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this. voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date: 4 | {L/w t ~

C¥fance Anthony Uptmore
Defendant

ATTORNEY’S ACKNOWLEDGMENT

 

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

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J sohn a, Convery, Esq.

Sohn for Defendant

 

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